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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

   MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA )
                         )
    v.                   )             CRIMINAL ACTION NO.
                         )               1:08cr236-MHT
LASHONDA PATRICE JONES   )                   (WO)
                         )

                      OPINION AND ORDER

    This    case    is   before     the   court    on   defendant

Lashonda Patrice Jones’s motion to continue the trial

now set for May 4, 2009.          For the reasons set forth

below, the motion will be granted.

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court is limited by the requirements of the Speedy

Trial Act, 18 U.S.C. § 3161.              The Act provides in

part:

           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information
           or indictment with the commission of
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           an offense shall commence within
           seventy days from the filing date
           (and   making   public)    of   the
           information or indictment, or from
           the date the defendant has appeared
           before a judicial officer of the
           court in which such charge is
           pending,   whichever    date   last
           occurs."

§ 3161(c)(1). The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."      §   3161(h)(7)(A).          In   granting     such       a

continuance, the court shall consider, among other

factors, whether the failure to grant the continuance

would     “result    in    a    miscarriage       of    justice,”

§ 3161(h)(7)(B)(i), or "would deny counsel for the

defendant or the attorney for the Government the

reasonable time necessary for effective preparation,

taking into account the exercise of due diligence."

§ 3161(h)(7)(B)(iv).



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    The court concludes that, in this case, the ends

of justice served by granting a continuance outweigh

the interest of the public and Jones in a speedy

trial.      Jones’s    recently      retained     counsel     needs

additional time to review the voluminous discovery in

order to prepare the case.          This court’s decision to

grant a continuance is buttressed by the fact that the

government does not oppose the continuance.

    Accordingly, it is ORDERED as follows:

    (1) Defendant Lashonda Patrice Jones’s motion for

continuance (Doc. No. 222) is granted.

    (2) The jury selection and trial, now set for May

4, 2009, are reset for August 31, 2009, at 10:00 a.m.,

at the federal courthouse, 100 West Troy Street,

Dothan, Alabama.

    DONE, this the 24th day of April, 2009.


                              _____________________________
                                /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
